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                             UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                                       CASE NO: 6:20-cr-97-GAP-LRH

    JOEL MICAH GREENBERG



                                           AMENDED ORDER
           In response to repeated questions from members of the media, and with the consent of Mr.

    Schneider, the Court is issuing the following amended order, which replaces the Court’s previous

    Order entered today (Doc. 103). As an accommodation for the sole purpose of controlling his

    hearing aids, and in accordance with Local Rule 7.02(a)(2), Mike Schneider of the Associated Press

    is authorized to bring his iPhone into the courthouse for the limited purpose of attending the change

    of plea hearing before the undersigned, scheduled for Monday, May 17, 2021 at 10:00 a.m. Mr.

    Schneider must present a copy of this Order, along with his media credentials, to the Court Security

    Officers and allow for a security inspection of his iPhone if requested by the Officers. Mr.

    Schneider’s iPhone must be on silent while in the courtroom, and photography, recording, or live

    transmission of any kind, including via social media platforms from the courthouse and courtroom

    (both 5D and 6A) is strictly prohibited. See Local Rule 5.01.

           DONE and ORDERED in Orlando, Florida on May 13, 2021.
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    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant
    Joel Micah Greenberg




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